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               EXHIBIT H
4/29/24, 4:36 PM      CaseGoogle.com
                           3:21-md-02981-JD              Document
                                     Mail - Financial scams              958-9
                                                            using malicious         Filed 05/02/24
                                                                            mobile applications            Page
                                                                                                – development        2 of 2 solution for Brazil
                                                                                                              of a customized



                                                                                           Eugene Liderman <eliderman@google.com>



  Financial scams using malicious mobile applications – development of a
  customized solution for Brazil
  Walter Tadeu Pinto de Faria <walter@febraban.org.br>                                         Mon, Dec 18, 2023 at 1:16 PM
  To: "eliderman@google.com" <eliderman@google.com>
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    Dear Mr. Eugene Liderman,



    We have observed a worrying trend of financial scams utilizing malicious mobile apps. These scams trick users into
    sideloading apps containing malware, which then exploits privileged permissions like accessibility to gain control of the
    user's phone. This allows scammers to steal sensitive information, credentials, and even carry out fraudulent transactions,
    causing significant financial losses to victims.

    At the core of this issue lies the ability to sideload apps onto mobile devices. To combat this threat, we suggest that
    Google's Android team explore effective mitigation strategies. One potential solution, as an interim measure, involves
    developing a custom solution for Brazil. This custom version could restrict sideloading entirely or make it significantly
    more difficult, with options like requiring developer mode activation or implementing additional user verification steps
    before allowing sideloading



    Yours sincerely




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